          Case 1:19-cv-00969-TNM Document 60 Filed 06/17/19 Page 1 of 2




                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

 U.S. HOUSE OF REPRESENTATIVES,

                            Plaintiff,

                            v.                        Case No. 1:19-cv-00969 (TNM)

 STEVEN T. MNUCHIN, in his official
 capacity as Secretary of the U.S.
 Department of the Treasury et al.,

                            Defendants.


                                             ORDER

        Upon consideration of the Plaintiff’s Unopposed Motion for Leave to File an Amended

Complaint and Request for an Order Denying Injunctive Relief and For Entry of Judgment, ECF

No. 51, it is hereby

        ORDERED that the Plaintiff’s Motion is GRANTED; it is further

        ORDERED that the Amended Complaint is deemed filed with the Court upon entry of

this Order; it is further

        ORDERED that the Plaintiff’s request for an order denying preliminary and permanent

injunctive relief with respect to the Administration’s transfer of funds under Section 9002 of the

2019 Department of Defense Appropriations Act for purposes of constructing a border wall is

hereby GRANTED. The Court holds that the House does not have standing to assert claims and

seek relief with respect to Section 9002 for the reasons set forth in the Court’s Memorandum

Opinion dated June 3, 2019 (ECF No. 54); and it is further
         Case 1:19-cv-00969-TNM Document 60 Filed 06/17/19 Page 2 of 2



       ORDERED that the Plaintiff’s request for entry of final judgment is GRANTED. The

Clerk of the Court shall prepare and enter judgment in this matter pursuant to Federal Rule of

Civil Procedure 58.

       SO ORDERED.


                                                                        2019.06.17
                                                                        11:46:13 -04'00'
Dated: June 17, 2019                                TREVOR N. McFADDEN
                                                    United States District Judge




                                                2
